                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 UNITED STATES OF AMERICA                           )
                                                    )
               v.                                   )     1:20CR208-1
                                                    )
 ALEXANDER HILLEL TREISMAN                          )
 also known as Alexander S. Theiss                  )

                                           ORDER

       On September 28, 2020, a federal grand jury in this district indicted Defendant

Alexander Hillel Treisman, also known as Alexander S. Theiss (“Defendant”), on one count of

knowingly possessing any material containing an image of child pornography, as defined in Title

18, United States Code, Section 2256(8)(A), including images involving a prepubescent minor

and a minor who had not attained 12 years of age, which had been shipped and transported

using any means and facility of interstate and foreign commerce, and in and affecting interstate

and foreign commerce by any means, including by computer in, in violation of Title 18, United

States Code, Section 2252A(a)(5)(B) and (b)(2); and two counts of knowingly transporting using

any means and facility of interstate and foreign commerce and in and affecting interstate and

foreign commerce by any means, including by computer, any child pornography, as defined in

Title 18 United States Code, Section 2256(8)(A), from the State of South Carolina to the State

and Middle District of North Carolina, in violation of Title 18, United States Code, Section

2252A(a)(1) and (b)(1).

       Thereafter, the case came before the Court for a hearing on a motion for detention by

the United States, pursuant to 18 U.S.C. § 3142(f)(1)(E). At the end of the hearing, the Court

orally ordered Defendant’s detention pending disposition of this case because clear and


                                                1


           Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 1 of 8
convincing evidence established that no combination of available release conditions would

reasonably assure the safety of the community and a preponderance of evidence established

that no conditions would ensure Defendant’s presence in court. The Court now enters this

written order memorializing that ruling as required by 18 U.S.C. § 3142(i)(1).

 I.     BACKGROUND

        Before the hearing, a United States Probation Officer prepared a Pretrial Services

 Report regarding Defendant’s history, residence, family ties, employment history, financial

 resources, health (including as it relates to mental health and substance abuse issues), and prior

 record. Both parties had an opportunity to review the report and stipulated to its accuracy.

 Defendant made no objections.

        At the hearing, Defendant was “afforded an opportunity to testify, to present witnesses,

 to cross-examine witnesses who appear[ed] at the hearing, and to present information by

 proffer or otherwise.” 18 U.S.C. § 3142(f). The United States called (and, through his counsel,

 Defendant cross-examined) Special Agent Aaron Seres of the Federal Bureau of Investigation

 (“FBI”) and Officer Addison Friedman of the United States Marshal Service and the Joint

 Terrorism Task Force (“JTTF”), who investigated this matter. Defendant did not present any

 testimony.

 II.    DISCUSSION

        In considering the question of release or detention pending trial, the Court considers

 the following statutorily-prescribed factors:

        (1) the nature and circumstances of the offense charged . . .;

        (2) the weight of the evidence against the [defendant];


                                                 2


           Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 2 of 8
       (3) the history and characteristics of the [defendant] . . .; and

       (4) the nature and seriousness of the danger to any person or the community that would

       be posed by the [defendant’s] release.

18 U.S.C. § 3142(g). Based on the record before it, the Court makes the following findings of

fact and/or conclusions of law. First, with respect to the nature of the offense charged against

Defendant, the Court notes that the charges are serious. Second, the weight of the evidence

against Defendant is strong as to the charged offenses.

      The Government presented the testimony of FBI Special Agent Aaron Seres who

testified about the events leading up to the indictment. Special Agent Seres testified that on

May 28, 2020, employees of the Fifth Third Bank located at 606 South Main Street in

Kannapolis, North Carolina reported an abandoned white Ford van in the bank’s parking lot.

Officers from the Kannapolis Police Department (“KPD”) responded. Through the

windows, KPD officers observed an AR-15 style rifle, a box for a Taurus .380 handgun, a

cannister of the explosive material Tannerite, and a box of 5.56 caliber ammunition. The

bank manager requested that KPD tow the van. An inventory search was conducted on the

vehicle. The search revealed, in addition to the items seen through the windows,

approximately $509,000 of U.S. currency (believed to be Defendant’s inheritance), books

(about survival, bomb making, improvised weapons and Islam), drawings of swastikas and

planes crashing into buildings, and the following firearms: a Sig Sauer AR rifle, an Intratec

9mm Luger, a Lower AR receiver, a Kel-Tec Sub-2000, a .22 caliber rifle marked ArchAngel,

and a Russian Mosin Nagant M91/30 bolt action rifle.

      Special Agent Seres testified that later on May 28, 2020, Defendant arrived at the Fifth

Third Bank in a green Honda Accord and inquired about the towed van. Bank employees
                                                 3


          Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 3 of 8
again contacted KPD. KPD officers responded to the call, encountered Defendant, and took

him into custody. KPD officers obtained a search warrant for the Honda Accord, which

revealed two additional firearms: a Taurus Spectrum .380 caliber and an Intratec 9mm Luger

Model AB-10, found concealed in a clothes hamper. Officers also located Defendant’s wallet

in the vehicle, which contained a State of Washington ID card bearing the name Alexander

Hillel Treisman (DOB 12/19/2000), a State of California driver’s license bearing the name

Alexander Hillel Treisman (DOB 12/19/2000), and a State of Florida driver’s license bearing

the name Alexander S. Theiss (DOB 3/29/1995). KPD officer arrested Defendant for

carrying a concealed weapon and contacted the FBI. A Samsung S9 cell phone was seized

from Defendant’s person at the time of arrest.

      Defendant was interviewed by KPD officers and JTTF investigators following his

arrest. Defendant disclosed that he has an interest in terrorist incidents and mass shootings.

Defendant conveyed that he has lost friends because of jokes he has made about mass

shootings and the 9/11 terrorist attacks. He disclosed that he traveled across the country and

purchased firearms in various states, including Washington (the Kel-Tec Sub-2000), Kansas

(the Intratec 9mm Luger Model AB-10), New Hampshire (the Sig Sauer AR Rifle), and West

Virginia (the Taurus Spectrum pistol). Defendant purchased the Kel-Tec Sub 2000 from a

Federal Firearms Licensee in Seattle, Washington. The information Defendant provided for

his background check is consistent with his counterfeit Florida driver’s license bearing the

name Alexander Theiss (DOB 3/29/1995).

      Special Angent Seres further testified that Defendant confirmed using the online alias

“flippymapper” on YouTube. JTTF investigators confronted Defendant about using the

online alias “AlextheBodacious” to post a Reddit comment referencing pedophilia and
                                                 4


          Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 4 of 8
executing those he hates. Defendant initially said he could not recall using this alias, but then

later said he made the comment for “shock factor.” JTTF investigators conducted online

searches of the aliases used by Defendant and discovered another post by AlextheBodacious

expressing a desire to perform a mass shooting.

      The FBI obtained a warrant to search Defendant’s S9 cellphone. A search of the

cellphone revealed sexually explicit videos and images of minors. A warrant was obtained to

search fifteen other electronic devices seized from Defendant’s vehicles. Child pornography

was found on eight of these devices (three laptops, three hard drives, an additional cell phone,

and a flash drive). A total of 1,248 videos and 6,721 images of child pornography content

were found on Defendant’s devices, in addition to 637 videos and images of child

pornography containing sadism and/or masochism content. Location data collected for

Defendant’s Samsung S9 cell phone shows Defendant traveling from South Carolina to

North Carolina between May 26 and 27, 2020. Prior to traveling to North Carolina,

Defendant used the internet at a hotel in South Carolina to download child pornography onto

one of his laptops, which was found in his possession on May 28, 2020.

      The Government then offered the testimony of Officer Addison Friedman with the

U.S. Marshal’s Service and the JTTF. Officer Friedman testified that warrants and court

orders were obtained to search Defendant’s electronic devices and accounts, including his

accounts on social media sites and gaming platforms. The Government proffered two

exhibits during Officer Friedman’s testimony, which included the following evidence:

          x Images of the Defendant’s white Ford van;

          x An image of the weapons recovered from Defendant’s van;

          x Images of Defendant’s green Honda Accord;
                                                5


          Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 5 of 8
x Images of the firearms recovered from Defendant’s Honda Accord;

x Images of Defendant’s two fraudulent driver’s licenses bearing the alias
  Alexander S. Theiss;

x A note created on October 15, 2019, found in Defendant’s Samsung S9 cell
  phone describing a plan to perform a mass shooting at a mall food court on
  Christmas or Black Friday;

x Still images from video footage of the Christchurch, New Zealand mosque
  shooting that Defendant downloaded on March 21, 2020 and related internet
  searches;

x A screenshot of the February 18, 2020 Reddit post by username
  AlextheBodacious referencing pedophilia and executing those he hates;

x An internet post made by Defendant on February 22, 2020 referencing raping
  children and posting child porn;

x An audio recording made on or about April 3, 2020 of Defendant narrating “the
  perfect porn video,” which describes Defendant killing two parents with a
  shotgun and then raping and impregnating their young daughter;

x An April 8, 2020 internet post by AlextheBodacious stating that he was “going
  to do a columbine for a while, [but] I think it would better to put it towards
  something more memorable”;

x An iFunny meme posted by Defendant on April 15, 2020 with the caption
  “should I kill joe biden?”;

x A timeline of internet searches conducted by Defendant between March and
  May 2020 seeking information about Joe Biden’s home address, state gun laws,
  rifle parts, and night vision goggles, along with actions taken by Defendant,
  including posting the abovementioned meme about killing Joe Biden, purchasing
  an AR-15 in New Hampshire, traveling to a Wendy’s within 4 miles of Joe
  Biden’s home, and writing a checklist note ending with “execute”;

x An April 20, 2020 video taken by Defendant’s cell phone while driving by
  Mandalay Bay Casino in Las Vegas with audio of a male voice saying “There it
  is. That’s it. That’s the one, that’s where they did it. Allah Akbar! Ah hah,
  nice.”;

x A video created on April 23, 2020 with Defendant’s cell phone at O’Hare
  International Airport with audio of a male voice suggesting that it would be

                                    6


Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 6 of 8
              “awesome” to hijack a plane and fly it into a building;

          x Images taken on or around April 26, 2020 at Range 56 shooting range at the
            Fort Bragg training area in North Carolina;

          x A description of and images from an electronic document entitled “A Guide to
            Mass Shooting” found on one of Defendant’s hard drives;

          x Drawings found in Defendant’s jail cell in August 2020 showing a stick figure
            labeled “me” beating a stick figure labeled “whoever the fuck calls the cops on a
            parked car” with a bat;

          x A handwritten “Autobiography” found in Defendant’s jail cell referencing mass
            shootings;

          x An image found on one of Defendant’s hard drives of a Polish passport that had
            been edited to bear Defendant’s face instead of the face of the original holder;

          x Images of Defendant’s current passport and a notation inside indicating that it is
            a replacement for a lost passport;

          x Audio from a May 29, 2020 jail call between Defendant and his mother,
            Kimberly Treisman, in which she suggests that Defendant should “jump bail”;

          x A 2017 email from alexthebodacious@gmail.com to a Canadian immigration law
            firm seeking information about how to obtain Canadian citizenship; and

          x Images of a rental agreement and a power bill in the name of Alex Theiss for an
            apartment in Quebec, Canada;

       On cross examination, Defendant’s counsel asked Officer Friedman if he was aware

that Defendant had been diagnosed with Asperger syndrome at age twelve. Officer Friedman

testified that he and another agent had asked Defendant about mental health conditions on

May 29, 2020. Officer Friedman stated that Defendant denied having any mental health

conditions during that interview.

       Defendant’s counsel offered Alpha Human Services, a minimum-security facility located

in Minneapolis, Minnesota as an alternative pretrial placement. Alpha Human Services is

certified by the Minnesota Department of Corrections and offers evaluations and treatment for

                                               7


           Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 7 of 8
men charged with sex offenses.

       The Court notes that Defendant has no prior criminal history. However, having

considered the information presented, the Court concludes that the record establishes by clear

and convincing evidence that no combination of available release conditions would reasonably

assure the safety of the community, and that a preponderance of evidence establishes that no

conditions would ensure Defendant’s presence in court. Alpha Human Services in Minnesota

is not a suitable alternative to detention. Defendant has not overcome the presumption of

detention arising under 18 U.S.C. § 3142(e)(3)(E). Defendant will therefore be detained

pending disposition of this matter.

        IT IS THEREFORE ORDERED that the motion for detention by the United

 States is GRANTED and Defendant shall be detained pending disposition of the instant

 charges under 18 U.S.C. § 3142(e)(1). Defendant is committed to the custody of the Attorney

 General of the United States or his designated representative for confinement in a corrections

 facility separate, to the extent practicable, from persons awaiting or serving sentences or being

 held in custody pending appeal. Defendant shall be afforded a reasonable opportunity for

 private consultation with defense counsel. On order of a United States court or on request of

 an attorney for the Government, the person in charge of the corrections facility shall deliver

 Defendant to the United States Marshal for the purpose of an appearance in connection with

 a court proceeding.



                                                           _______________________
                                                           _________________________
                                                                    Joe L.
                                                                        L Webster
                                                           United States Magistrate Judge
October 6, 2020
Durham, North Carolina
                                                 8


           Case 1:20-cr-00208-UA Document 24 Filed 10/06/20 Page 8 of 8
